Case 1:18-cv-03501-.]GK Document 130 Filed 06/26/18 Page 1 of 7

NAME, ADDRESS, AND TELEPHONE NUMBER OF A'I'I‘ORNEY(S) <:I.§-'Al'< F<);:),r
OR OF PARTY APPEARING IN PRO PER
Patrick Farrell

p.farrell1 3@yahoo.com
352-31 7-6370

1126 NW 101st pl
Gainesville, Fl.32606

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW Y()RK

   

  
 
     

 

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ATToRNEY(s)Fom |n Propria Persona

 

 

DEMGCRAT|C NATL. COMM|TTlEE CASENUMU‘
CASE #: 1:18~cv-03501-JGK
Plaintiff(s),
V. .
RUSSIAN FEDERATlON, DONALD CERTIFICATION AND NOTICE
TRUMP’ et al oF tNTEREsTED PARTIEs
Defendant(s) (Local R\lle 7-1"1)

 

 

TO: THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Patrick Farrell

or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this §ase. These representations are made to enable the Court to evaluate possible disqualification
or recusal. "‘ "

 

(List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

PARTY CONNECTION / INTEREST

Patrick Farrell American National Qui Tam Relator Defendants actions caused Patrick Farrell to lose his
.. $283,000 home to unlawful foreclosure, causing 10

origin from case 07-11049 American Home Mortgage year litigation and $1,000,000 in costs and fees.

BK Aug 2007, Plaintiff_ln case 07-CA-14942 Fl. 20th TAKE NOTICE of tile # 103 done wrong by the clerk

Cir. and case # 2:09-cv-16-FTM-298PC Fl. Middle by filing 4 pages of 11 page brief UPSlDE DOWN,

Dist. for $100 Billion, which exposed the entire " TAKE NOTICE of demand for repair of error and filing
mortgage crisis" as a RlCO by defendants and many of 30 pages inclusive of facts relating this case to
others in state and federal cases all over the USA, Farrell's case # 07-CA-14942, an unlawful foreclosure
Judge Rakoff Orders, Federal Reserve Consent as per the CFPB and Fl. A.G. Pam Bondi in lawsuits
Orders against GMAC,OCWEN, WELLS FARGO, and consent orders against OCWEN SERVlClNG,
B.O.A. and others for the $100 Billion l claimed. who aided and abetted Wilbur Rosb and defendants
Herein Pro Per Qui Tam Relator deserves the claim Trump and Russia, by foreclosing and stealing my
herein of between $500,000 and $1,000,000. Equity, from degraded assets bought by Ross from

  

Pleader's Claims were verified by Federal Courts DEUTSCHE

/. nk and Wells Fargo 'n 2007 AHM-BK
06/22/2018 v .- /_“ M /,
pate ` nature M // /

Attorney of record for (or name of party appearing in pro per):

  

 

Patrick Farre|l

 

 

CV-30 (05/13) NOTICE OF INTERESTED PARTIES

 

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UNITED sTATEs OMB APPROVAL
COMMODITY FUTURES TRADING COMMISSION _
FORM WB-APP

APPLICATION FOR AWARD FOR ORIGINAL INFORMATION PROVIDED
PURSUANT TO SECTIGN 23 OF THE COMMODITY EXCHANGE ACT

A. TELL US ABOUT YOURSELF (Required for All Submissions)

l. Last Name First Name M.I. SSN Last F our Digits
Farren Patrick L § >/ §§
2. Street Address Apartment/Unit #

1126 NW 101 st pl

City State/Province ZIP/Postal Code Country
gainesville Florida 32606 United States
3. Telephone Alt. Phone E-mail Address

+1 3523 1 763 70 p.farrelll3@yahoo.com

B. YOUR ATTORNEY’S INF()RMATION (If Applicable - See Instructions)

1. Attorney’s Name _

2. F irm Name
3. Street Address
City State/Province ZIP/Postal Code Country

4. Telephone Fax E-mail Address

Dlease be advised that nursuant to § Cil:.i?;t § 1320.§(50)(2)5), you are net remained to z‘esg,ar>nci to this collection of
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Enforcement,

 

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b WB-APP Number: 1806‘2109¢2719-52 CONF|DENT|AL Submitted: 6/21/2018 9:27:19 AM

C. TELL US ABOUT YOUR TIP OR COMPLAINT

la. How did you submit original information to the CFTC? 1b. Date that you submitted the information (mm/dd/yyyy)

Website Mail Fax Other 02/ l 2/201 7

2a. Did you file a CF'I`C Form TCR? YES NO

2b. Form TCR Number 2c. Date that you filed your Fonn TCR (mm/dd/yyyy)

3. Name(s) of the individual(s) and/or entity(s) to which your tip or complaint relates
ALL BANKS JP MORGAN, WELLS FARGG, GMAC,OCWEN, CITI. i have many cases on pacer.gov see in middle dist. of
Florida under my name beginning with July 1999 vs. ISKCON, then on, On J an 12,2009 I filed the case #2:09-cv-16~FTM-29SPC
Patrick Fatrell vs. U.S.Congress. That case I will try to upload below, then several other cases. I exposed the Comm. Future
Modernization Act, as the start of false and inflated pledged equity, by inflating appraisals of homes with mortgage notes made by
Countrywide sold to DEUTSCHE bank who rejected them in 2007, then the titles were bought by Wilbur Ross and Steve Mnuchin
for 1%, who then foreclosed at 100% plus fees, in degrading equity assets in 10 year annuities from 30 year notes, in REMIC
"trusts" that collapsed in 2007, JPM and all others involved, using Patents,Copyrights and Trademarks, by and through the BAR
association foreclosed unlawfully at 100% plus costs on degraded assets pools made from the titles. Did you get that? Rigging
foreclosure cases aided and abetted the rigging of LlBOR and ISDAFIX. The collateral used was homes with inflated note and
equity value that was paid off with Insurance, EESA and TARP, all after the COMMODITY FUTURE MODERNIZATION ACT
[CFMA] was implemented in Jan 2000. The establishing of equity value for degraded and illegal REMIC trusts,was held for years,
DESPITE being reduced with discharge in BK, insurance TARP and EESA. My one home was the perfect example of the entire
fraud and rigging of L[BGr and ISDAFIX. My home was $300K, inflated appraisal was $450K, went down to $150K in 2010,
foreclosed in 2014 for $450K, and stolen ii’om me in FEB 2018 for the phony $450K claim and sold to 3rd party for $265K, on a
"credit bid" by IMPAC agent for Wells FARGO. I have an IQ of 150 and have researched this for the last 12 years. The US govt.
essentially agreed with me by giving me free health care and no mortgage for the 12 years of litigation BUT my atty. fees and costs
were never restored so all my work amounts to slave labor. Do what you want with me, but just send a check.

D. NOTICE OF COVERED ACTION
1. Date of relevant Notice of Covered Action (mm/dd/yyyy) 2. Notice Number

01/12/2009
3a Case Name 3b. Case Number
Patrick Farrell vs. U.S.Congress et al Case 2:09-cv-16-th-SPC

E. CLAIMS PERTAINING TO RELATED ACTIONS

1. Name of other agency or organization to which you provided your information

United States District Court Southern District of New York Daniel Patrick Moynihan United States Cou§house 500 Pearl Street
New York, NY 10007-1312 Geoffrey A Graber Cohen Milstein Sellers & Toll 1100 New York Ave., w, Ste. 500 Washington,
DC 20005 ROBERT S. MUELLER Ill U.S. Department of Justice 950 Pennsylvania Avenue, NW ROOM B-103 Washington,
DC 20530-0001 STEVE Mnuchin 1500 Pennsylvania Ave N.W. Washington, D.C. 20220 Donald T ramp 1600 Pennsylvania
ave Washington DC 20500 David Kautter IRS 1111 Constitution ave NW Wash DC 20224 ROBERTSON ANSHUTZ- 6409
CONGRESS AVE.#]OO~ BOCA RATON,FL. 33487 LINDA DOGGETT- LEE CO.CLERK COURT PO BOX 310 FT.
MYERS,FL.33902 DEMOCRATIC NATL COMM. 430 South Capitol St SE, Washington, D.C. 20003 Adam C. Jed U.S.
DEPARTMENT OF JUSTICE Special Counsel's Ofiice 950 Pennsylvania Avenue, NW Washington, DC 20530 UNITED
STATES DIST COURT DISTRICT OF COLUMBIA 333 Constitution Avenue N.W. Washington D.C. 20001 Room 1225
Whistleblower Oflice 1155 21st Street, NW Washington, DC 20581 Fax: (202) 418-5975

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information provided en this linen W¥B»AFP, and its related attachrrsents and addendums, is CGN§"~'llJEl\ZTlAl,. and cannot be
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2. Name and contact information for point of contact at the agency or organization, if known

United States District Court Southern District of New York Daniel Patrick Moynihan United States Co\n‘thouse 500 Pearl Street
New York, NY 10007-1312 Geoffrey A Graber Cohen Milstein Sellers & Toll 1100 New York Ave., Nw, Ste. 500 Washington,
DC 20005 ROBERT S. MUELLER llI U.S. Department of Justice 950 Pennsylvania Avenue, NW ROOM B-103 Washington,
DC 20530-0001 STEVE Mnuchin 1500 Pennsylvania Ave N.W. Washington, D.C. 20220 Donald Trump 1600 Pennsylvania
ave Washington DC 20500 David Kautter IRS 1111 Constitution ave NW Wash DC 20224 ROBERTSON ANSHUTZ- 6409
CONGRESS AVE.#100- BOCA RATON,FL. 33487 LINDA DOGGETT- LEE CO.CLERK COURT PO BOX 310 FT.
MYERS,FL.33902 DEMOCRATIC NATL COMM. 430 South Capitol St SE, Washington, D.C. 20003 Adam C. J ed U.S.
DEPARTMENT OF JUSTICE Special Counsel's Office 950 Pennsylvania Avenue, NW Washington, DC 20530 UNITED
STATES DIST COURT DISTRICT OF COLUMBIA 333 Constitution Avenue N.W. Washington D.C. 20001 Room 1225
Whistleblower Office 1155 215t Street, NW Washington, DC 20581 Fax: (202) 418-5975

3a. Date that you provided the information (mm/dd/yyyy) 3b. Date of action by the agency or organization (mm/dd/yyyy)
02/02/201 7

4a. Case Name 4b. Case Number

Farrell vs. GMAC et al 07¢CA~14942

F. ELIGIBILITY REQUIREMENTS AND OTHER INFORMATION

1. Are you currently, or were you at the time that you acquired the original information that you submitted to the CFTC, a member,
officer or employee of: the CFTC; the Board of Governors of the Federal Reserve System; the OHice of the Comptroller of the
Currency; the Board of Directors of the Federal Deposit Insurance Corporation; the Director of the Office of Thrift Supervision; the
National Credit Union Administration Board; the Securities and Exchange Commission; the Department ofJustice; a registered
entity; a registered futures association; a self-regulatory organization; a law enforcement organization; or a foreign regulatory
authority or law enforcement organization?

YES NO
2. Did you provide the information identified in Section C above pursuant to a cooperation agreement with the CFTC or another

agency or organization?
YES NO

3. Before you provided the information identified in Section C above, did you (or anyone representing you) receive any request,
inquiry or demand that relates to the subject matter of your submission (i) from the CFTC, (ii) in connection with an investigation,
inspection or examination by any registered entity, registered fixtures association or self-regulatory organization, or (iii) in
connection with an investigation by the Congress, or any other federal or state authority?

YES " No"

4. Are you currently a subject or target of a criminal investigation, or have you been convicted of a criminal violation, in connection
with the information identified in Section C above and upon which your application for an award is based?

YES NO
5. Did you acquire the information that you provided to the CFTC from any person described in Questions 1 through 4 above?

YES NO _

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distributed outside of the Commiaaion without the written approva! of the CFTC$ ‘d‘e”r‘;§et¥eizie‘eier Oftiee and the §T)iviaion of
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6. If you answered “Yes” to any of Questions 1 through 5 above, please provide details Use additional sheets, if necessary.

l have sent Court documents over the years to the Us Treasury, the IRS and the Fed.

G. ENTITLEMENT TO AWARD

Explain the basis for your belief that you are entitled to an award in connection with your submission of information to the CFTC,
or to another agency or organization in a related action. Provide any additional information that you think may be relevant in light
of the criteria for determining the amount of an award set forth in Section 23 of the Commodity Exchange Act and Part 165 of the
CFTC’s regulations Include any supporting documents in your possession or control, and use additional sheets, if necessary.

l am a Qui Tam Relator, aka Whistleblower. l bankrupted ISKCON the Hare Krsna Cult in 1999 after they were sued for $1.4
Billion. I began in NOV 2007 the anti corrupt bank and mortgage fraud campaign, that has resulted in major litigation and billions
in rewards back to the Fed and IRS and Treasury et al. THis current action vs IPM is a mere offshoot of the original action which
was the perversion of lending from the CFMA in Jan 2000. Jan 2009 l sued for $100 Billion. In 2013 the DOJ found 3,500 REMIC
"trusts" empty. By then based on what I said [making several trusts from one home] the USA and the FED got back the $100
Billion I sued for. Then, by gleeming relevant facts,in March 2017 I INFORMED the DOJ Robert Mueller that Wilbur Ross was
the link between the Trump Russia collusion,conspiracy et al. I lost my $283,000 home and the Law said I was to get the title free
and clear.

H. CLAIMANT’S DECLARATION

I declare under penalty of perjury under the laws of the United States that the information contained herein is true, correct and
complete to the best of my knowledge, information and belief. l fully understand that I may be subject to prosecution and ineligible
for a whistleblower award if, in my submission of information, my other dealings with the Commodity Futures Trading
Commission, or my dealings with another agency or organization in connection with a related action, I knowingly and willfully
make any false, fictitious or fraudulent statements or representations or use any false writing or document knowing that the writing
or document contains any false, fictitious or fraudulent statement or entry.

Print Name

Patrick Farrell

Signature Date
Patrick Farrell 6/21/2018

I. COUNSEL CERTIFICATION

I certify that I have reviewed this form for completeness and accuracy and that the information contained herein is true, correct and
complete to the best of my knowledge, information and belief. I further certify that I have verified the identity of the whistleblower
award claimant on whose behalf this form is being submitted by viewing the claimant’s valid, unexpired government issued
identification (e.g., driver’s license, passport) and will retain an original, signed copy of this form, with Section H signed by the
claimant, in my reeords. l further certify that l have obtained the claimant’s non-waivable consent to provide the Commodity
Futures Trading Commission with his or her original signed Form WB-APP upon request, and that l consent to be legally obligated
to do so within seven (7) calendar days of receiving such a request from the Commodity Futures Trading Commission.

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WB-APF Number: 1806'2109-2719-52 CONFIDENT|AL

Print Name of Attorney and Law Firm, if Applicable

Signature Date

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SUPPORTING DOC NTS

ME VS USA,pdf
3-28-2017 ROSS.pdf
1-23-2017.pdf
AMICI.doc

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MANAFORT.doc
ZERO WASTE.doc
PC AND SEAL.doc

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